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                          UNITED STATES DISTRICT COURT

                          MIDDLE DISTRICT OF LOUISIANA



UNITED STATES OF AMERICA                                            CRIMINAL ACTION

VERSUS                                                              14-50-SDD-RLB

DANNIESA HUGHES SANDERS



                                        RULING

        This matter is before the Court on the pro se Motion for Modification of Sentence

Pursuant to 18 U.S.C. § 3882(c) Based on Retroactive Amendment 782 of the United

States Sentencing Guidelines1 filed by Defendant, Danniesa Sanders (“Defendant”). The

Government has filed an Opposition2 to the motion.

        On May 15, 2014, the Defendant was indicted by a federal grand jury in a seven-

count Indictment charging the Defendant in Count One with conspiracy to distribute and

possess with the intent to distribute cocaine and cocaine base and Count Six with

possession with the intent to distribute 28 grams or more of cocaine base and cocaine.3

The Defendant was charged on October 2, 2014 by Superceding Indictment with the

same counts.4 On February 19, 2015, in a Superceding Bill of Information,5 the Defendant

was charged with misprision of a felony, to which she pled guilty pursuant to a Plea




1
  Rec. Doc. No. 200.
2
  Rec. Doc. No. 203.
3
  See Rec. Doc. No. 1.
4
  Rec. Doc. No. 82.
5
  Rec. Doc. No. 120.
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Agreement6 on March 18, 2015. On September 10, 2015, the Defendant was sentenced

to a term of imprisonment of 15 months to be followed by a term of supervised release of

one year.7

          On April 10, 2014, the United States Sentencing Commission (“USSC”) voted to

reduce the guidelines on drug trafficking offenses. Amendment 782 became commonly

known as the “drugs minus two” amendment as it provided for a two level across the

board reduction in offense level at USSG § 2D1.1(c). This Amendment went into effect

on November 1, 2014. On July 18, 2014, pursuant to its authority under 28 U.S.C. §

3582(c)(2), the USSC voted to give retroactive effect to Amendment 782. The USSC

determined this guideline amendment would be applied retroactively to offenders

sentenced under prior versions of the Guidelines Manual.

          The Defendant, who is currently scheduled to be released from the Bureau of

Prisons on October 25, 2016, filed this motion seeking a reduction in sentence under

Amendment 782 based on its retroactive application. However, in this case, Defendant

was sentenced after November 1, 2014 and, pursuant to Defendant’s presentence

investigation report filed July 9, 2015, the November 1, 2014 edition of the Guidelines

Manual was used to determine her offense level. Therefore, because the Defendant was

sentenced after the imposition of Amendment 782, she is not eligible for retroactive

application of the Amendment as she received the benefit of a reduced sentence when

the Court calculated the offense level using the most current Guideline Manual.




6
    Rec. Doc. No. 135.
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          Accordingly, Defendant’s Motion for Modification of Sentence Pursuant to 18

U.S.C. § 3882(c) Based on Retroactive Amendment 782 of the United States Sentencing

Guidelines8 is DENIED.

          IT IS SO ORDERED.

Signed in Baton Rouge, Louisiana on June 28, 2016.




                                        S
                                     JUDGE SHELLY D. DICK
                                     UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF LOUISIANA




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